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Counsel for Plaintiff and all

others similarly situated

LINDA RUBENSTEIN, on behalf of
herself and all others similarly situated,

Plaintiffs,
Vs.

THE NEIMAN MARCUS GROUP
LLC, a Delaware Limited Liability
Company, and DOES 1-50, inclusive,

Defendants.

 

 

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Michael Louis Kelly - State Bar No. 82063

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NO.: 2:14-cv-07155-SJO-JPR
CLASS ACTION

DECLARATION OF BRIAN
BERGMARK IN SUPPORT OF
PLAINTIFF’S MOTION FOR CLASS
CERTIFICATION

Assigned To: Hon. S. James Otero

Date: November 13, 2017

Time: 10:00am

Courtroom: 10C

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I, Brian Bergmark, hereby declare:

1. I have been retained by counsel for Linda Rubenstein (“Plaintiff’) to
provide financial, economic and damage analysis pertaining to the above-
referenced matter. Unless otherwise indicated, the following is set forth based on
my own personal knowledge, and if called upon to testify, I would do so
competently. This Declaration is offered in connection with Plaintiff’s motion for
class certification. As such, it focuses on the methodologies I will use to reach my
final opinions in this matter once all data and other relevant information is
available to me and demonstrates the extent to which these methodologies will
give rise to opinions that will apply on a classwide basis.

2. I am a Managing Director and one of the Founders of Torrey Partners,
an economic and accounting services firm, whose services include providing
independent expert testimony and analysis and strategic consulting services to
clients including corporations, law firms, and local, state and federal governments
and agencies. I am licensed in the State of California as a Certified Public
Accountant. I am accredited in Business Valuation by the American Institute of
Certified Public Accountants and as a Senior Appraiser by the American Society of
Appraisers. I attended the University of California at Los Angeles (Bachelor of
Science, Economics-Systems Science graduate), and San Diego State University
(Master of Business Administration, emphasis in Finance). My curriculum vitae,
which summarizes my professional and educational background, is attached hereto
as Exhibit A.

3. During my professional career, I have provided economic loss,
damage analysis, valuation and consulting services for international accounting and
consulting firms and local accounting firms and businesses since 1984. Since
1989, my work has focused on providing economic loss, damage quantification,
and valuation analysis in litigation and non-litigation matters involving

businesses and individuals. I have previously performed a number of analyses of

 

 

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economic losses addressing issues similar to those raised in this matter.

Scope:
4. At this time, I have been asked to review deposition testimony and

documents provided by The Neiman Marcus Group, LLC (“Defendant”), to
explain the methodologies I will apply to a complete set of data and documents and
to provide preliminary observations regarding that data and documents which may

be relevant to the claims and remedies in this matter.

Information Considered to Date:

5. In connection with my analysis and for purposes of this declaration, I,
and representatives from Torrey Partners working under my supervision, have
reviewed and relied upon various documents and information provided to me
related to this matter, including:

a. The Second Amended Complaint;

b. The Third Amended Complaint;

c. Amended Notice of Deposition of Defendant The Neiman Marcus
Group, LLC;

d. Ninth Circuit Memorandum;

e. The deposition transcripts of Frank Crisci, Rebecca Hall and Jeffrey
Rosenfeld; and

f. Various product information documents by vendor and style

6. A summary of the information I have considered to date is shown at

Exhibit B.

Preliminary Observations and Analysis:
7. Based on the information I have been provided, I am able to provide

the following observations that may be relevant to establishing class membership,

 

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liability and/or calculating damages or restitution in this case.

Identification of Transactions Included in the Class

8. I can identify which transactions are included in the class by
identifying: the date of the transaction; the items sold; the store location at which
the transaction was processed; any coupon code that may be provided; and other
relevant factors which the Court may determine defines the transactions that are
part of the class. I can mechanically and systematically perform this analysis for
each and every transaction, customer, and product once sales data for these
transactions is provided by Defendant.

9. Per the Third Amended Complaint, filed September 11, 2017,
“Defendant’s Use of “Neiman Marcus” in the Name of its “Neiman Marcus Last
Call” Stores Together with its “Compared to” Price Tag Misled Consumers into
Believing that the Last Call Stores Sell Products that were Previously Sold at
Neiman Marcus Retail Flagship Stores for the “Compare to” Price.”

10. Based on my review of the information I have been provided and my
conversations with counsel for Plaintiff, I understand that the transactions that are
the subject of this matter involve products purchased by individuals from Neiman
Marcus Last Call Stores (“Last Call Store(s)” or “Last Call”) in California that
were labeled with a “Compared to” price but were never sold at Neiman Marcus
flagship retail stores. Such transactions occurred at any time beginning four (4)
years prior to the initial filing of this action on August 7, 2014 and continuing
through the present date.

11. Plaintiffs allege that, despite the suggestion made by “Compared to”
pricing indicated on all Last Call products that items sold at Last Call Stores are at
some point offered for sale at Neiman Marcus flagship stores, Defendant’s Neiman
Marcus Last Call products are actually not for sale at the traditional Neiman

Marcus flagship stores. Plaintiffs further allege that the “Compared to” prices are

 

 

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labeled with “arbitrary inflated” prices because the products were never sold at
traditional Neiman Marcus stores.

12. J understand that there are generally two ways Last Call stores receive
products to be sold. There are direct purchase products were never sold at Neiman
Marcus flagship stores and then residue product that comes from Neiman Marcus
full-line stores, which is product left over at the end of a year or season or cycle
that didn’t sell at a full-line store’.

13. Mr. Crisci further testifies that all items sold at Last Call stores have a
price ticket that reflects a “Compared to” price* and the price ticket is already
attached to the product prior to the product actually reaching the brick and mortar
Last Call store.

14. Mr. Crisci indicates that all “Compared to” pricing information is
established by and received from the vendor. Vendors establish “Compared to”
prices,’ and Neiman Marcus does not provide any instruction to the vendor on how
to calculate the “Compared to” price’. Last Call product buyers establish the actual
retail price of items sold at Last Call stores°

15. It is clear from Mr. Crisci’s testimony that the “Compared to” prices
are not derived from the actual sales prices of the items over a given period of
time, and for direct purchase items, the “Compared to” prices are not derived from

sales of the same product in Neiman Marcus flagship stores.

 

' Deposition of Frank Crisci taken August 29, 2017; page 28, line 12

? Deposition of Frank Crisci taken August 29, 2017; page 6, line 10

> Deposition of Frank Crisci taken August 29, 2017; page 26, line 8; page 11, starting line 5
“ Deposition of Frank Crisci taken August 29, 2017; page 11, starting line 5

> Deposition of Rebecca Hall Taken August 29, 2017; page 17, line 16

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Ability to Expand Analysis to All Relevant Data

16. In other matters, I first analyzed a sample of data related to the subject
transactions for purposes of certifying the class. After the class was certified, I
was provided with complete data for all transactions within the class description,
which included tens of millions of transactions involving thousands of different
products. From my work on other matters, I am quite familiar with the type of data
retailers collect and maintain, and I believe that I can perform the same type of
analysis here as I did in other matters, regardless of the size, scope and amount of
sales data at issue.

17. While certain transaction data may be limited, I understand that
particular transaction details are commonly captured. Such data includes what
items were purchased, what price, other attributes, payment type’. To the extent
that information is unavailable for a given period of time, the known transaction

detail could be extrapolated to the class.

Damages:
18. Using the data that I expect to be provided by the Defendant, I can

perform various analyses of the damages sustained by (and/or restitution owed to)
all members of the Class in this matter. There are several alternative theories by
which damages or restitution could be calculated.

19. For example, Ms. Rubenstein could ask for the entire amount she
spent to purchase any item from a Last Call store as restitution. Given similar sales
data for all class member purchases, I could perform the same analysis on behalf of
the entire class and for each class member individually because I would expect the
transaction data to contain both the purchase price of an item and a description of

the item purchased.

 

® Deposition of Jeffrey Rosenfeld taken August 29, 2017, page 15, line 3

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20. Alternatively, Ms. Rubenstein could be provided with the entire
amount spent to purchase any item from a Last Call store, less a reduction to
reflect her use of the product. Pursuant to this theory, Ms. Rubenstein would be
entitled to her purchase price minus a form of “depreciation”. Given similar sales
data for all class member purchases, I could perform the same analysis on behalf of
the entire class and for each class member individually because I would expect the
transaction data to contain both the purchase price of an item and a description of
the item purchased.

21. This potential theory of calculating restitution takes into account the
relative utility that the class member received for the product. Although other
approaches may be applicable and easy to calculate, one way to determine the
utility received for product would be to apply a depreciation factor. Once the
reasonable life of the product is determined and the time period over which the
product was used by class member is identified, that utility could be determined.

22. I understand from the deposition transcripts I have reviewed that
customers often use coupons and other discounts as payment for Last Call
products. The use of such coupons should not affect the above calculations
concerning the original Item price. However, in determining actual damages under
the restitution theory, only the cash (or cash equivalent) actually paid by a
customer should be included as consideration. Thus, if coupons were used,
damages would be limited to total payment after coupons.

23. <A potential third theory of calculating restitution would be to
determine the amount of the discount promised (e.g. 35% off the Compared to
price) and apply that discount to the price actually paid for that particular product
by other customers over the previous 90 days. Under this scenario, if the product
was sold to other customers over the previous 90 days for $10.00, and Plaintiff
purchased the product for $9.00, and expected a 35% discount the damages would
be the difference between the $9.00 purchase price and $6.50 ($10.00, less 35%),

 

 

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or $2.50 ($9.00 - $6.50). Even though in this example I have referenced an
average sales price for the 90 day period leading up to the date of the transaction. I
could easily use a different time frame and metric (e.g., median) to determine the
comparable price. I would use an average price when the data does not have
significant outliers.

24. Given similar sales data for all class member purchases, I could
perform these same analyses on behalf of the entire class or for each class member
individually.

25. A potential fourth theory of calculating restitution would be to
calculate the profits received by Last Call stores for the products purchased. This
profit information should be readily available to Defendant, and it should be
contained in its financial statement or other accounting data.

26. The above examples are not meant to be exhaustive of the potential
means by which I could calculate classwide damages or restitution, but simply
demonstrate that such calculations are possible based upon a systematic and
mechanical analysis of data maintained by Last Call for every relevant product
during the class period.

27. Each of the above calculations is consistent with methods used to
identify damages in other matters for which I have been retained to quantify

economic damages.

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28. Given Last Call’s pricing practices, I would expect that
there would be fluctuations in the amount of restitution or damages owed to each
class member depending on the products purchased and the time period when they
were purchased. Such fluctuation, however, would not cause any difficulty in my
ability to quantify the damages to the class as a whole or on an individual basis for
each class member, all of which can be done based on purely objective evidence

and mechanical methodologies.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct and that this declaration was

executed on this 12" day of September, 2017 in San Diego.

Brian Bergmark
Managing Director
Torrey Partners, LLC

 

 

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